Case No. 1:21-cv-00197-WJM-NRN Document 1-2 filed 01/21/21 USDC Colorado pg 1 of
                                     11                                  EXHIBIT
                                                                          B
                             DATE FILED: November 25, 2020
                             CASE NUMBER: 2020CV69
Case No. 1:21-cv-00197-WJM-NRN Document 1-2 filed 01/21/21 USDC Colorado pg 2 of
                                     11
Case No. 1:21-cv-00197-WJM-NRN Document 1-2 filed 01/21/21 USDC Colorado pg 3 of
                                     11
Case No. 1:21-cv-00197-WJM-NRN Document 1-2 filed 01/21/21 USDC Colorado pg 4 of
                                     11
Case No. 1:21-cv-00197-WJM-NRN Document 1-2 filed 01/21/21 USDC Colorado pg 5 of
                                     11
Case No. 1:21-cv-00197-WJM-NRN Document 1-2 filed 01/21/21 USDC Colorado pg 6 of
                                     11
Case No. 1:21-cv-00197-WJM-NRN Document 1-2 filed 01/21/21 USDC Colorado pg 7 of
                                     11
Case No. 1:21-cv-00197-WJM-NRN Document 1-2 filed 01/21/21 USDC Colorado pg 8 of
                                     11
Case No. 1:21-cv-00197-WJM-NRN Document 1-2 filed 01/21/21 USDC Colorado pg 9 of
                                     11
Case No. 1:21-cv-00197-WJM-NRN Document 1-2 filed 01/21/21 USDC Colorado pg 10 of
                                     11




                                             DATE FILED: November 25, 2020 3:11 PM
                                             CASE NUMBER: 2020CV69
Case No. 1:21-cv-00197-WJM-NRN Document 1-2 filed 01/21/21 USDC Colorado pg 11 of
                                     11
